Case 0:21-cv-61646-RS Document 13 Entered on FLSD Docket 09/22/2021 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-61646-CIV-SMITH

 MICHAEL BAILEY,

        Plaintiff,

 v.

 I.C. SYSTEM, INC.,

       Defendant.
 ______________________________________/

                          ORDER OF REFERRAL TO MEDIATION

        Trial having been set in this matter under separate order of the Court, and pursuant to

 Federal Rule of Civil Procedure 16(c)(2)(I) and Southern District Local Rule 16.2, it is hereby

        ORDERED as follows:

        1. All parties must participate in mediation by April 15, 2022.

        2. Plaintiff's counsel, or another attorney agreed upon by all counsel of record and any

 unrepresented parties, shall be responsible for scheduling the mediation conference.

        3. By October 15, 2021, the parties shall file a Notice of Scheduling Mediation, setting

 out the name of the mediator and the date, time, and place for the mediation. The mediation date

 may not be extended without prior court approval. If at any time the mediation date is rescheduled,

 the parties must file a new Notice of Scheduling Mediation.

        4. Except as provided under Local Rule 16.2(e) for public-sector entities, the appearance

 of counsel and each party or representatives of each party with full authority to enter into a full

 and complete compromise and settlement is mandatory. The parties should appear in-person;
Case 0:21-cv-61646-RS Document 13 Entered on FLSD Docket 09/22/2021 Page 2 of 2




 however, appearance via video conference is permissible. If insurance is involved, an adjustor

 with authority up to the policy limits or the most recent demand, whichever is lower, shall attend.

        5. The Court may impose sanctions against parties and/or counsel if mediation is not

 conducted or for failure to comply with any other requirement or term of this Order.

        6. If a full or partial settlement is reached in this case, counsel shall promptly notify the

 Court of the settlement in accordance with Local Rule 16.2(f), by the filing of a notice of settlement

 signed by counsel of record within fourteen (14) days of the mediation conference. Thereafter the

 parties shall submit appropriate papers concluding the case. The case will remain on the trial

 calendar until an order dismissing the action is entered by the Court.

        7. Within seven (7) days following the mediation conference, the mediator shall file a

 Mediation Report indicating whether all required parties were present. The report shall also

 indicate whether the case settled (in full or in part), was continued with the consent of the parties,

 or whether the mediator declared an impasse. It shall be the responsibility of the parties to

 ensure that the mediator timely files the mediation report.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 21st day of September, 2021.




 cc:    Counsel of Record




                                                   2
